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                               Exhibit 25



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                            Page 994
                   UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MASSACHUSETTS

    - - - - - - - - - - - - - - -x

    IN RE:    PHARMACEUTICAL       :   MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE     :   CIVIL ACTION

    PRICE LITIGATION               :   01-CV-12257-PBS

    THIS DOCUMENT RELATES TO:      :

    U.S. ex rel. Ven-a-Care of     :   Hon.   Patti B. Saris

    the Florida Keys, Inc.         :

         v.                        :

    Dey, Inc., et al.              :

    No. 05-11084-PBS               :

    - - - - - - - - - - - - - - -x

              (captions continue on following pages)




               Videotaped deposition of LARRY REED

                            Volume V



                               Washington, D.C.

                               Thursday, October 2, 2008




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                                                         Page 995                                                    Page 997
 1               CAUSE NO. D-1-GV-07-001259                                1           IN THE COURT OF COMMON PLEAS
 2   - - - - - - - - - - - - - - - -x                                      2             FIFTH JUDICIAL CIRCUIT
 3   THE STATE OF TEXAS, ex. rel :                                         3   Master Caption No.
 4   VEN-A-CARE OF THE FLORIDA                     : IN THE DISTRICT COURT 4   2006-CP-40-4394
 5   KEYS, INC.                         : TRAVIS COUNTY, TEXAS             5   ------------------x
 6                 Plaintiffs, : 201ST JUDICIAL DISTRICT                   6   STATE OF SOUTH CAROLINA                 :
 7             v.               :                                          7   COUNTY OF RICHLAND                    :
 8   SANDOZ, INC., et al.                  :                               8   In Re: South Carolina          :
 9                 Defendants. :                                           9   Pharmaceutical Pricing Litigation :
10   - - - - - - - - - - - - - - - -x                                     10   This Matter Relates to: Sandoz, Inc.:
11             COMMONWEALTH OF KENTUCKY                                   11   Civil Action No. 2006-CP-40-4390 :
12                FRANKLIN COURT - DIV. II                                12   Civil Action No. 2006-CP-40-4399 :
13   --------------x                                                      13   ------------------x
14   COMMONWEALTH OF KENTUCKY :                                           14
15   ex rel. GREGORY D. STUMBO, :                                         15
16   ATTORNEY GENERAL                         :                           16
17             Plaintiff, : Civil Action No.                              17
18       vs.                  : 03-CI-1135                                18
19   WARRICK PHARMACEUTICALS :                                            19
20   CORP., INC., et al.              :                                   20
21             Defendants. :                                              21
22   --------------x                                                      22
                                                         Page 996                                                    Page 998
 1               COMMONWEALTH OF KENTUCKY                                1                IN THE COURT OF COMMON PLEAS
 2               FRANKLIN COURT - DIV I                                  2                   FIFTH JUDICIAL CIRCUIT
 3             CIVIL ACTION NO. 04-CI-1487                               3     MASTER FILES NUMBER: 06-CP-40-4394
 4    --------------x                                                    4     CIVIL ACTION NUMBER: 07-CP-40-0282
 5    COMMONWEALTH OF KENTUCKY :                                         5     CIVIL ACTION NUMBER: 07-CP-40-0283
 6    ex rel. JACK CONWAY,      :                                        6     - - - - - - - - - - - - - - - - - - -x
 7    ATTORNEY GENERAL             :                                     7     STATE OF SOUTH CAROLINA and HENRY :
 8             Plaintiff, :                                              8     D. McMASTER, in his official              :
 9        vs.             :                                              9     capacity as Attorney General for the :
10    ALPHARMA USPD, INC.,        :                                     10     State of South Carolina,                :
11    et al.,             :                                             11         Plaintiff,                     :
12             Defendants. :                                            12     vs.                              :
13    --------------x                                                   13     MYLAN LABORATORIES, INC.,                   :
14                                                                      14         Defendant.                        :
15                                                                      15     - - - - - - - - - - - - - - - - - - -x
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 1   that point. That might be that -- I just don't    1      during the time period that you were responsible?
 2   know if we were, if HCFA was using disks, that    2              MS. OBEREMBT: Objection.
 3   old, floppy disks or whatever.                    3      BY MR. MERKL:
 4       Q. Do you know who John Schlegel is, the      4          Q. Or did it change somehow?
 5   addressee on the letter?                          5              MS. OBEREMBT: Objection.
 6       A. Other than what's indicated in the         6              THE WITNESS: I'm just trying to figure
 7   letter, no.                                       7      out what you're referring to, because just
 8       Q. And you recognize the letterhead,          8      reading the sentence by itself, it's hard to
 9   right?                                            9      determine its context. Designing a variety of
10       A. Yes.                                      10      payment systems. I mean, CMS -- and now CMS
11       Q. That is HCFA letterhead, correct?         11      controls the number of payment systems, or
12       A. Correct.                                  12      regulates, rather.
13       Q. Would you turn to page 2 of the letter,   13      BY MR. MERKL:
14   first full paragraph? It says, rather -- I'm     14          Q. So you're saying you don't understand
15   reading midway down. "Rather, it has always been 15      what the sentence means?
16   our intent to permit and encourage the states to 16          A. I'm saying that the sentence, reading
17   exercise maximum flexibility in designing a      17      it by itself, it's hard to determine what its --
18   variety of payment systems that would be subject 18      what it's referring to.
19   to maximum payment levels established by federal 19          Q. Well, you know what's referred to by
20   regulations." Do you see that?                   20      the maximum payment levels, right?
21       A. I see that sentence.                      21          A. No. Again, I'm just trying to -- what
22       Q. Has that also always been your            22      maximum payment levels? You mean the EAC and the
                                           Page 1224                                                 Page 1226
 1   understanding while you were in your position        1   dispensing fee payment levels?
 2   approving SPAs at HCFA/CMS?                          2       Q. Right. They are all maximum payment
 3      A. Without -- without knowing the full            3   levels, right? You pay the lower of?
 4   context of the letter, we would -- CMS would         4       A. But we have hospital payment levels.
 5   certainly, in the Medicaid program, offer states     5   We have physician payment levels. We have a
 6   flexibility in their payment systems, including      6   number of payment levels.
 7   for drugs.                                           7       Q. This is talking about prescription
 8      Q. So that sentence is an accurate                8   drugs, isn't it?
 9   statement of HCFA policy while you were there?       9       A. That's what I'm looking for.
10          MS. OBEREMBT: Objection.                     10       Q. So you don't know if that sentence
11          THE WITNESS: It's a statement of             11   refers to drugs or not, that's your testimony?
12   policy that there is flexibility within the         12       A. As I read through the rest of the
13   regulations as to how to meet the requirements of   13   letter, the letter appears to refer to the reg
14   the regulation here.                                14   that was published on August 19th, 1986.
15   BY MR. MERKL:                                       15       Q. Why don't we read the next sentence.
16      Q. And it's consistent with your                 16   "Moreover, these maximum payment levels include
17   understanding of policy while you were there,       17   sufficient margins in both the markup factor for
18   right?                                              18   generic substitutes and the reasonable dispensing
19      A. If the states had flexibility in              19   fees that would enable pharmacists to realize
20   determining EAC and dispensing fee, is that what    20   profits through prudent purchasing and efficient
21   you -- is that what you mean?                       21   business operations." Doesn't that suggest to
22      Q. I'm asking if the sentence is accurate        22   you that this letter or these two sentences are
                                                                           59 (Pages 1223 to 1226)
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 1       Q. And you have no reason to doubt that          1   there was an issue with Texas and AMP.
 2   these minutes are accurate, right?                   2       Q. And is Texas or any state allowed to do
 3       A. Right.                                        3   that, pass their own law and require the
 4       Q. Did you used to get copies of these           4   manufacturers to report them their AMP? Is that
 5   minutes in the ordinary course?                      5   allowed?
 6       A. Of the P-TAG minutes?                         6          MS. OBEREMBT: Objection.
 7       Q. Yes.                                          7          THE WITNESS: I believe that they --
 8       A. I believe generally so.                       8   they wrote to us, and if I remember correctly, we
 9       Q. What did you do with them?                    9   indicated that they could not get that AMP.
10       A. I'm not sure.                                10   BY MR. MERKL:
11       Q. Did do you throw them out or do you          11       Q. I don't know whether you're talking
12   file them?                                          12   about -- this is a statute, okay? Texas has a
13       A. I just don't remember what happened to       13   statute or a regulation that requires
14   them. The most recent ones I think -- I have,       14   manufacturers to send them AMP information
15   but I don't know about any of the older ones.       15   directly, as distinct from Texas getting AMP
16       Q. Well, would you send them -- I               16   information from CMS. Do you know anything about
17   understand that you don't know where they are       17   that regulation? Or statute?
18   today. That I accept. But was your practice         18       A. The state statute separate and apart
19   when you got a P-TAG minute, you would read it      19   from the other correspondence?
20   and rip it up and throw it out, or would you just   20       Q. Yes.
21   read it and send it to a file and hand it to        21       A. No, I don't.
22   somebody. What did you do with it?                  22       Q. Now, is there any reason from CMS's
                                           Page 1340                                                 Page 1342
 1       A. Over this time period, I don't recall.        1   perspective that a state could not require
 2   I just don't know what happened to them.             2   manufacturers to give the states AMP information?
 3       Q. So these minutes, and minutes like            3       A. The AMP would still be confidential
 4   them, might still exist in files, they might not,    4   under the act.
 5   you just don't know?                                 5       Q. So a state could ask to get the AMP
 6       A. Yes. Personally, I don't know.                6   from the manufacturers, but the state would still
 7       Q. Do you have any reason to believe that        7   be required to treat the AMP as manufacture -- as
 8   they are not kept, or they are destroyed?            8   confidential, consistent with the terms of the
 9       A. I'm sorry, that they are not what?            9   act?
10       Q. Do you have any reason to believe that       10          MS. OBEREMBT: Objection.
11   the minutes going back to 1990 from P-TAG were      11          THE WITNESS: And I think we would want
12   not kept and were destroyed by HCFA?                12   to see the specific statute, specific uses and
13           MS. OBEREMBT: Objection.                    13   specific disclosure for that.
14           THE WITNESS: I simply don't know what       14   BY MR. MERKL:
15   happened to them.                                   15       Q. So is it fair to say that if the state
16   BY MR. MERKL:                                       16   got AMP information, that might be permissible,
17       Q. Okay. I seem to recall hearing that          17   but even if they did get the AMP information, the
18   Texas enacted some legislation that required        18   state could only use the AMP information
19   manufacturers to report AMP, the federal AMP to     19   consistent with the overall federal legislation?
20   Texas Medicaid authorities. Do you know if          20          MS. OBEREMBT: Objection.
21   that's the case? Have you heard of that?            21          THE WITNESS: And I just don't
22       A. I do recall that Texas had -- that           22   understand that question. I just don't know what
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 1   that means. Do you mean for rebate purposes?         1   or statements from HCFA?
 2   BY MR. MERKL:                                        2      A. A number of people worked on it. I
 3       Q. No. For instance, could the state get         3   would have been among those people.
 4   AMP information? Say the state requires them to      4      Q. Would you turn to page, I guess 48446,
 5   report AMP information. Could the state then         5   upper left-hand corner. It talks about average
 6   turn around and publish the AMP information?         6   manufacture under Section 9, third column, right?
 7   Would that be legitimate?                            7      A. Section 9, okay.
 8          MS. OBEREMBT: Objection.                      8      Q. It says it's "to clarify that AMP for
 9          THE WITNESS: I think the use of AMP           9   rebate period is the average price paid to the
10   information would be held confidential under the    10   manufacture for the drug in the United States by
11   statute, any of that information for any purpose    11   wholesalers for drugs distributed to the retail
12   other than what's contemplated by the statute.      12   pharmacy class of trade after deducting customary
13   BY MR. MERKL:                                       13   prompt pay discounts. The policy that AMP would
14       Q. They could use it as long as they kept       14   be calculated after deducting prompt pay
15   it confidential under the statute?                  15   discounts is reflected in the national rebate
16          MS. OBEREMBT: Objection.                     16   agreements." That's still the case, right?
17          THE WITNESS: I'm not sure what you           17      A. No.
18   mean by the term, use it.                           18      Q. Oh, no. How is that different?
19   BY MR. MERKL:                                       19      A. AMP no longer includes deduction of
20       Q. Could you take a look at Dey Exhibit         20   customary prompt pay discounts.
21   172, please. Do you recognize this? It's a          21      Q. Okay. But all other discounts are in
22   proposed rule?                                      22   AMP, right?
                                            Page 1344                                               Page 1346
 1      A. Yes, I do.                                     1          MS. OBEREMBT: Objection.
 2      Q. Can you tell me what the proposed rule         2   BY MR. MERKL:
 3   was?                                                 3       Q. True?
 4      A. This was a proposed rule that was              4       A. No.
 5   implementing OBRA 90.                                5       Q. What other discounts are in AMP?
 6      Q. And what was the purpose of this               6       A. There is subsequent regulation that
 7   particular rule? This proposal?                      7   specifies which discounts -- which prices are in
 8      A. The proposed rule would be -- basically        8   and which discounts are in, and which are out.
 9   would be publishing it in the federal regulations    9       Q. Okay. Why were prompt pay discounts
10   to get it into the CFR.                             10   taken out?
11      Q. Okay. And what was on this particular         11          MS. OBEREMBT: Objection. Calls for
12   reg here? What did this reg do?                     12   deliberative process. You can't answer.
13      A. As I remember, this reg was -- was            13   BY MR. MERKL:
14   putting into federal regulations a number of        14       Q. Turn to page 48475, please. In the
15   provisions of the rebate law.                       15   left-hand column, do you see it says C. Do you
16      Q. And this is in 1995?                          16   see that?
17      A. Correct.                                      17       A. Yes.
18      Q. And what role, if any, did you have in        18       Q. It says, comment and then response?
19   connection with this Federal Register item?         19       A. Yes.
20      A. My role would have been to be involved        20       Q. Now comment, who does the comment?
21   with this, with this regulation.                    21       A. The comment would be comments from the
22      Q. Did you work on preparing the comments        22   general public.
                                                                           89 (Pages 1343 to 1346)
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